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                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OKLAHOMA

  1.      MICHELLE ERNST as Personal                  )
          Representative of the Estate of             )
          DAVID MICHAEL ERNST,                        )
          deceased,                                   )
                                                      )
                            Plaintiff,                )
                                                      )       Case No. 14-CV-504-GKF-PJC
  v.                                                  )
                                                      )
                                                      )
  1.      CREEK COUNTY PUBLIC                         )
          FACILITIES AUTHORITY,                       )
  2.      ADVANCED CORRECTIONAL                       )
          HEALTHCARE, INC.,                           )
                                                      )
                            Defendants.               )

                          DEFENDANT’S UNOPPOSED MOTION AND BRIEF
                           FOR LEAVE TO SUBMIT EXHIBITS UNDER SEAL

          Plaintiff is personal representative of the estate of David Ernst (Decedent). Decedent was incarcerated

  in the Creek County Detention Center (CCDC) from August 24, 2013 until he committed suicide by hanging

  on June 17, 2014. Plaintiff has sued the Authority for alleged failure to provide medical care1 to Decedent

  during his incarceration, in violation of the United States Constitution2. The Authority denies that it failed to

  provide appropriate medical care for Decedent.

          During Decedent’s almost year long incarceration, he submitted many requests for medical care and

  he was seen by medical professionals on many occasions. Each request for medical care, and each response to

  same, must be addressed by Defendant Authority in this alleged denial of medical care case. Likewise, each




          1
              Throughout this Motion and Brief, the term medical care is intended to include mental health
  care.
          2
          On March 30, 2016, the Plaintiff dismissed her alleged state law claims against the
  Authority. See Dismissal filed at Doc. 63.
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   request and response to same are being provided to the Court as exhibits to the Authority’s Motion for

   Summary Judgment which is presently due April 18, 2016.

           The records which address Decedent’s medical and mental health condition or care are not public

   record. They are in fact personal, sensitive, private medical/mental health records. They are defined as

   confidential in the Court’s Protective Order entered at Doc. 49. Pursuant to LCvR 79.4, Defendant Authority

   respectfully requests permission to submit under seal these private, medical/mental health records. Plaintiff

   is not opposed to this Motion. A proposed Order is being submitted with this Motion.

                                                               Respectfully submitted,


                                                               s/ Ambre C. Gooch
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                                                               ATTORNEY FOR DEFENDANT CREEK
                                                               COUNTY PUBLIC FACILITIES AUTHORITY


                                          CERTIFICATE OF SERVICE

           I hereby certify that on April 13, 2016, I electronically transmitted the attached document to the Clerk
  of Court using the ECF System for filing and transmittal of a Notice of Electronic Filing to the following ECF
  registrants:

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                                                  s/ Ambre C. Gooch
                                                  Ambre C. Gooch




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